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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT



IN RE TEVA SECURITIES LITIGATION          No. 3:17-cv-00558 (SRU)
_______________________________________

THIS DOCUMENT RELATES TO:                 No. 3:18-cv-1681 (SRU)
                                          No. 3:18-cv-1721 (SRU)
                                          No. 3:18-cv-1956 (SRU)
                                          No. 3:19-cv-175 (SRU)
                                          No. 3:19-cv-192 (SRU)
                                          No. 3:19-cv-449 (SRU)
                                          No. 3:19-cv-513 (SRU)
                                          No. 3:19-cv-543 (SRU)
                                          No. 3:19-cv-603 (SRU)
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                                          No. 3:19-cv-1167 (SRU)
                                          No. 3:19-cv-1173 (SRU)
                                          No. 3:20-cv-83 (SRU)
                                          No. 3:20-cv-588 (SRU)
                                          No. 3:20-cv-683 (SRU)
                                          No. 3:20-cv-1630 (SRU)
                                          No. 3:20-cv-1635 (SRU)

                                          September 2, 2021




           REPLY MEMORANDUM OF LAW IN SUPPORT OF
  DEFENDANTS’ MOTION TO DISMISS STATE AND COMMON LAW CLAIMS
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       Defendants in the above-captioned matter respectfully submit this reply memorandum in

further support of their motion to dismiss the State Law Claims.

                                PRELIMINARY STATEMENT

       Plaintiffs do not – because they cannot – dispute that each of the statutory requirements

for SLUSA preclusion is satisfied with regard to their State Law Claims, yet they insist that their

claims should nevertheless be exempt because they were filed as “individual actions” rather than

as “class actions,” and because Congress never intended SLUSA to apply in situations like this

one. To the contrary, Plaintiffs’ argument is irreconcilable with the statute’s language and

history, and has been consistently rejected by courts in this Circuit (which authority Plaintiffs fail

to meaningfully address but, in a footnote, merely urge the Court to disregard).

       Plaintiffs’ other arguments are just as meritless. Their “actual reliance” allegations are

substantively indistinguishable from those which courts in this Circuit have repeatedly found

deficient, and the fact that the Phoenix plaintiffs were able to timely assert their PSA claims

refutes Plaintiffs’ argument that the Harel and Pomerantz Actions (which contain materially

identical allegations to those in Phoenix) could not have likewise done so.

       Plaintiffs’ State Law Claims must therefore be dismissed.

                                           ARGUMENT

I.     PLAINTIFFS’ STATE LAW CLAIMS ARE BARRED BY SLUSA

       As detailed in Defendants’ moving brief (ECF 787-1, “Mov. Br.,” pp. 3-7), the State Law

Claims clearly fall within SLUSA’s scope and are therefore precluded. Notably, in their

opposition brief (ECF 843, “Opp. Br.”), Defendants do not – because they cannot – dispute that

the three statutory criteria for preclusion are satisfied here. They do not deny that the State Law

Complaints assert claims “based upon [state] statutory or common law,” or that these claims are

premised upon “a misrepresentation or omission of a material fact in connection with the
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purchase … of a covered security.” 15 U.S.C. § 78bb(f)(1)(A). Nor do Plaintiffs deny that the

State Law Complaints are part of a “group of lawsuits filed in or pending in the same court and

involving common questions of law or fact, in which (I) damages are sought on behalf of more

than 50 persons; and (II) the lawsuits are joined, consolidated, or otherwise proceed as a single

action for any purpose.” Id. at § 78bb(f)(5)(B)(ii).

       Yet Plaintiffs argue that their State Law Claims are nevertheless exempt because,

whereas SLUSA was only intended to preclude “class actions” brought in state court for the

purpose of avoiding federal pleading standards, it should not apply here because Plaintiffs

asserted their claims as “individual actions” in federal court. (See Opp. Br., pp. 7 (“[Plaintiffs]

have not attempted to evade federal law or the federal courts…. And because [the State Law

Complaints] are not class actions, they are not covered by SLUSA.”). Plaintiffs further argue

that it would be “unfair” to apply SLUSA in a manner that would “strip[] a party of its ability to

opt-out of a class action and pursue its own state law claims, simply because a class action is

pending in the same federal court.” (Id., pp. 11-12.) These arguments are wholly without merit.

        First, SLUSA is manifestly not limited to suits commenced as “class actions.” By its

plain terms, the statute applies to “covered class actions,” which are defined not just in terms of

single lawsuits styled as class actions, see 15 U.S.C. § 78bb(f)(5)(B)(i) (covering actions brought

“on behalf of … prospective class members”), but to “any group of [individual] lawsuits”

satisfying the statutory criteria, id. at § 78bb(f)(5)(B)(ii). Moreover, SLUSA’s preclusive effect

is not restricted to actions commenced in state court; rather, the statute explicitly provides that

“[n]o covered class action … may be maintained in any State or Federal court,” id. at

§ 78bb(f)(1) (emphasis added), without distinction to where they were brought.




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        In a footnote, Plaintiffs “acknowledge” the copious Second Circuit authority applying

SLUSA to state law claims brought by litigants, like Plaintiffs, who opted out of a federal class

action, yet urge the Court to disregard these cases as being “wrongly decided to the extent … that

SLUSA’s legislative history makes clear that [it] was not intended to distinguish the claims of

opt-out plaintiffs.” (Opp. Br., p. 11 n.10.) They fail, however, to provide a shred of authority

that would justify abandoning this precedent and recognizing an implied exemption for opt-outs.

In fact, the Supreme Court has strongly cautioned trial courts against doing just this. See Merrill

Lynch, Pierce, Fenner & Smith v. Dabit, 547 U.S. at 87-88 (“[T]he tailored [explicit] exceptions

to SLUSA’s pre-emptive command demonstrate that Congress did not by any means act

‘cavalierly’ [in drafting the statute]…. The existence of these [express] carve-outs … makes it

inappropriate for courts to create additional, implied exceptions.”).

        Second, Plaintiffs’ argument that the goals of SLUSA are not implicated here because,

having filed them in federal court, the State Law Claims are already “subject to federal pleading

standards” (Opp. Br., p. 11) is simply wrong. Though these claims may be subject to Rule 9(b)

of the Federal Rules of Civil Procedure (as Plaintiffs themselves concede (see id., p. 2 n.4)), they

are not subject to the PSLRA (nor does Plaintiffs’ carefully-worded assertion suggest otherwise).

Moreover, in enacting SLUSA, Congress was not only concerned that plaintiffs were seeking to

avoid federal pleading standards, but rather that they were end-running the protections instituted

by the PSLRA which included – but were by no means limited to – pleading standards.1

        Likewise without merit is Plaintiffs’ assertion that their State Law Claims cannot be

subject to SLUSA because, having opted out of the Ontario class, their suits “by definition are



1
 See Dabit, 547 U.S. 1, 81 (2006) (the PSLRA was designed to “limit recoverable damages and attorney’s fees,
provide a ‘safe harbor’ for forward-looking statements, … and authorize a stay of discovery pending … motion[s] to
dismiss. [It] also imposes heightened pleading requirements….”).



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not class actions” within the meaning of the statute. (Opp. Br., p. 7 (emphasis in original); see

also id., p. 8 (“[N]one of these eight actions are class actions. Rather, all are individual

actions….”) (emphasis in original).) This same argument has been rejected repeatedly by Courts

in this Circuit. For example, in In re AOL Time Warner Secs. Litig., opt-out plaintiffs attempted

to avoid preclusion “by arguing that none of [their] individual actions bring state law claims …

for more than 50 people.” 503 F. Supp. 2d 666, 672 (S.D.N.Y. 2007) (internal quotation marks

omitted). The district court disagreed, finding that the opt-outs’ argument “ignores the fact that

[their] ‘individual actions,’ once aggregated per SLUSA’s instructions, are a ‘covered class

action’ for purpose[s] of SLUSA and are properly subject to the Act’s limitations on mass

actions.” Id. (emphasis added); see also Amorosa v. Ernst & Young, 672 F. Supp. 2d 493, 516

(S.D.N.Y. 2009) (same), aff’d 409 F. App’x 412 (2d Cir. 2011). Plaintiffs cite no authority that

would justify applying the statute differently depending on whether the parties bringing “covered

class actions” were opt-outs or were never part of a class to begin with.

         Fourth, and more fundamentally, Plaintiffs’ resort to SLUSA’s legislative history is both

unwarranted and unavailing. When interpreting a statute, the courts’ “task is to give effect to the

will of Congress, and where its will has been expressed in reasonably plain terms, that language

must ordinarily be regarded as conclusive.” Griffin v. Oceanic Contractors, 458 U.S. 564, 570

(1982). Here, because the relevant provisions are clear and unambiguous (and Plaintiffs do not

claim otherwise), the statute should be applied as written. See Cyan v. Beaver Cty. Emps.’ Ret.

Fund, 138 S. Ct. 1061, 1069 (2018) (“[Petitioner’s] various appeals to SLUSA’s purposes and

legislative history fail to overcome the clear statutory language. The statute says what it says –

or perhaps better put here, does not say what it does not say.”).2


2
 While courts may deviate from the unambiguous statutory language if literal application would be “demonstrably
at odds” with the clearly expressed intentions of its drafters,” this is not one of those “rare cases.” Griffin, 458 U.S.


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         Fifth, Plaintiffs’ contention that it would be “unfair” to construe SLUSA in a way that

would “strip[] a party of its ability to opt-out of a class action and pursue its own state law

claims” (Opp. Br., p. 11) cannot withstand scrutiny. Plaintiffs obviously have not been deprived

of their ability to opt-out of Ontario – they could do so and did. The issue is whether, having

opted out, their individual claims now constitute a “covered class action” in which claims “based

upon the statutory or common law of any State” are asserted “in connection with the purchase or

sale of a covered security.” 15 U.S.C. § 78bb(f)(1). Because they plainly do, Plaintiffs’ State

Law Claims may no longer “be maintained in any State or Federal court.” Id.

         Similarly meritless is Plaintiffs’ argument that they should be exempt from SLUSA

because they “actively opposed consolidation” with the Ontario class action, and because a small

handful3 of Plaintiffs brought suit in different jurisdictions hoping to “remain separate from the

Class Action and free from scrutiny under SLUSA.” (Opp. Br., pp. 8, 9 n.9.) This Court has

already considered this same argument and rejected it. In Backus v. Connecticut Comm. Bank,

plaintiffs argued “that SLUSA should not apply because [their two cases] were consolidated

without their consent,” but the Court disagreed, holding that the statute’s “express language does

not limit the provision’s applicability to lawsuits joined or consolidated without a plaintiff’s

objection, so this Court will not interpret the provision to contain any such limitation.” 789 F.


at 571. Plaintiffs argue that SLUSA’s legislative history shows that it was “not meant to prevent plaintiffs from
bringing bona fide individual actions simply because more than fifty persons commence the actions in the same state
court against a single defendant” (Opp. Br., 10-11 (internal quotation marks omitted)), yet they fail to disclose that,
in the very next sentence of the Senate Report from which they selectively quote, SLUSA’s drafters expressly
recognized that “the provisions of the bill would apply where the court orders that the suits be joined, consolidated,
or otherwise proceed as a single action” (S. Rep. No. 105-182, at *8 (1998)). Contrary to Plaintiffs’
characterization, the legislative history “acknowledge[s] that the law could affect individual actions that were
involuntarily consolidated” and could thus “deprive individual investors of a state law remedy if they happened to
file in the same court as other individual investors,” yet “adopted [the bill] notwithstanding some objections
indicating concern over this [very] issue.” Anwar v. Fairfield Greenwich Ltd., 118 F. Supp. 3d 591, 609-10
(S.D.N.Y. 2015) (emphasis added).
3
 Notably, 17 out of the 21 Direct Actions (including four of the eight State Law Complaints) were brought in this
District well aware (having liberally copied from the Ontario pleadings) that the class action was pending here.



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Supp. 2d 292, 301 (D. Conn. 2011). Moreover, the Court found that plaintiffs’ tactic of

separately filing “two nearly identical lawsuits … in order to circumvent … SLUSA preemption,

is precisely what Congress sought to prevent in enacting its definition of ‘covered class action.’”

Id. at 302. Moreover, this argument ignores that aggregation under SLUSA does not depend on

formal consolidation. Indeed, as this Court previously found, even if the Direct Actions were

“simply coordinated” (as requested by Plaintiffs), “coordination would have the same effect as

consolidation” for purposes of SLUSA. Ontario Teachers’ Pension Plan Bd. v. Teva Pharm.

Indus., 3:17-cv-558, 2020 WL 1181366, at *16 (D. Conn. Mar. 10, 2020).

II.    PLAINTIFFS’ STATE LAW CLAIMS FAIL TO PLEAD ACTUAL
       RELIANCE WITH THE SPECIFICITY REQUIRED BY RULE 9(B)

       A.      There Is No Reliance Presumption For Any Of Plaintiffs’ State Law Claims

       Plaintiffs try to draw a distinction between their common law causes of action (to which,

they concede, the federal reliance presumptions do not apply) and their claims under the PSA (to

which, they contend, the presumptions do apply. (See Opp. Br., pp. 5-6.) Plaintiffs fail to cite

any authority that would support that distinction. While courts have noted similarities between

the PSA and Section 10(b) of the Exchange Act, they have likewise observed that the elements

of a fraud claim under Pennsylvania common law are “essentially the same as those of a private

action for federal securities fraud.” WM High Yield Fund v. O’Hanlon, 04-cv-3423, 2013 WL

3230667, at *18 (E.D. Pa. June 27, 2013). Nonetheless, despite finding the elements of common

law fraud and Section 10(b) claims to be “nearly identical,” Axar Master Fund v. Bedford, 806 F.

App’x 35, 38 n.2 (2d Cir. 2020), courts in the Second Circuit “repeatedly have refused to apply

the fraud on the market [reliance presumption] to state common law cases despite its wide

acceptance in the federal securities fraud context,” Secs. Inv. Prot. Corp. v. BDO Seidman,

222 F.3d 63, 73 (2d Cir. 2000). (See also Mov. Br., p. 9.)



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         Plaintiffs cite a single decision for the proposition that “‘reliance may be presumed’

‘where a plaintiff asserts a “fraud on the market” claim’ [under the PSA]” (Opp. Br., 5-6

(quoting Fulton Fin. Adv. Nat’l Ass’n v. NatCity Invs., 09-cv-4855, 2013 WL 5635966, at *13

(E.D. Pa. Oct. 15, 2013))), but their reliance on that decision is unavailing for two reasons. First,

the passage they cite is mere dicta. Since the plaintiffs in Fulton (who brought claims under both

Section 10(b) and the PSA) did not allege a fraud on the market theory, the court did not even

reach the issue, let alone decide it, as Plaintiffs misleadingly imply. Second, whatever

persuasive value this dicta might have is further undermined by the fact that the Fulton court

itself cited no authority for importing the federal reliance presumption into a PSA claim; instead,

the sole case it cited – In re DVI Secs. Litig., 249 F.R.D. 196 (E.D. Pa. 2008) – involved a

motion to certify a class asserting a claim under the federal securities laws, not the PSA. See

Fulton, 2013 WL 5635966, at *13.4

         B.       Plaintiffs Fail To Plead Actual Reliance With The Requisite Specificity

         Plaintiffs contend that each of the eight State Law Complaints pleads the actual reliance

element of their State Law Claims with the specificity required “to survive a motion to dismiss

… under the heightened pleading requirements of Rule 9(b).” (Opp. Br., p. 2.) Not so.

         As detailed in Defendants’ moving brief (pp. 8-9), seven of those complaints (viz., Harel,

Phoenix, and the five Pomerantz Actions) do not come close to satisfying even the lenient Rule 8

standard, since they do not allege that Plaintiffs were even aware of – much less that they

actually reviewed or relied on – any of Defendants’ purported statements or omissions. In a half-

hearted attempt to rebut this argument, Plaintiffs cite a single sentence in one of their complaints.


4
 As Defendants’ authority makes clear, whether state and federal laws have similar (or even identical) elements has
no bearing on whether federal courts are willing to extend pleading presumptions available for certain federal law
claims to their state law analogs (and, as shown, they are not). Plaintiffs’ inflammatory charge that Defendants have
“argue[d] from both sides of their mouth” with respect to Fulton (Opp. Br., p. 6 n.8) is thus unwarranted.



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(See Opp. Br., p. 2 n. 3 (citing Clal compl., ¶ 593).) But rather than helping their cause, this

cursory, formulaic allegation only highlights the deficiency of their pleadings. Far from pleading

actual reliance with specificity, this sentence merely alleges in conclusory – and equivocal –

terms that Plaintiffs “purchased or otherwise acquired Teva securities … in reliance on the

Defendants’ untrue or misleading statements or omissions of material fact and/or on the

integrity of the market.” (Clal compl., ¶ 593 (emphasis added).)5 Unsurprisingly, neither of

the cases Plaintiffs cite support their contention that “federal courts have [found] allegations of

this sort … sufficient to plead actual reliance with particularity.” (Op. Br., pp. 2-3.)6

         Plaintiffs’ attempt to defend the adequacy of the allegations in the Highfields complaint

(see Op. Br., pp. 3-4) fares no better. As demonstrated in Defendants’ moving brief (pp. 10-11),

courts in this Circuit have repeatedly found “eyeball reliance” allegations substantively

indistinguishable from those alleged in Highfields to be too conclusory to satisfy even Rule 8, let

alone Rule 9(b). Plaintiffs’ efforts to distinguish this authority are unavailing.7


5
  That Plaintiffs omitted the emphasized language from their selective quotation of the Clal complaint speaks
volumes. It is also telling that Plaintiffs did not even bother to point to any actual reliance allegations in the Harel
or Phoenix complaints, but in any event those pleadings contain the same conclusory allegation. (See Harel compl.,
¶ 915; Phoenix compl., ¶ 937.)
6
  For example, whereas the complaint in Maverick Fund v. Comverse Tech. pled that plaintiff actually “read and/or
listened to and relied upon” defendants’ alleged misrepresentations, 801 F. Supp. 2d 41, 55 (E.D.N.Y. 2011), none
of the complaints in Harel, Phoenix, or the Pomerantz Actions contain any comparable allegation. The other case
Plaintiffs cite, Transit Rail v Marsala, 05-cv-0564, 2007 WL 2089273 (W.D.N.Y. July 20, 2007), does not contain
the quoted reliance allegations Plaintiffs ascribe to it, but in any case no such allegations appear in Harel, Phoenix,
or the Pomerantz Actions complaints.
7
  For example, there is no meaningful distinction between the “two short, nearly single-sentence paragraphs” (Opp.
Br., p. 4) held to be too conclusory in Int’l Fund Mgmt. v. Citigroup, 822 F. Supp. 2d 368 (S.D.N.Y. 2011), and the
corresponding two long, single-sentence paragraphs in the Highfields complaint. The latter are longer because they
list 58 filings and transcripts, whereas the former only concerned two filings. Compare Highfields compl., ¶¶ 370
(“Prior to Highfields making the decision to purchase … Teva securities on behalf of Plaintiffs, a Highfields
investment analyst actually and justifiably read, listed [sic] to and/or relied upon [the filings]”), 372 (“Highfields
actually and justifiably relied upon information contained in [the filings] in making each purchase … of Teva
securities….”) with 2010 WL 9552827 (S.D.N.Y.), ¶¶ 499 (“In connection with Plaintiffs’ purchases of Securities
after February 23, 2007, Plaintiffs and/or their investment managers read and relied upon Citi’s 2006 Form 10-K,
including the false financial statements and other statements alleged herein to be false or misleading.”), 500 (same as
to 2007 Form 10-K). And whereas the court in In re Bear Stearns Secs., Deriv. & ERISA Litig., found plaintiff’s
reliance allegations insufficiently particularized because they failed to “link its review of any particular statement[]”


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III.     THE PSA CLAIMS ASSERTED IN THE HAREL
         AND POMERANTZ ACTIONS ARE TIME-BARRED

         In an attempt to save their time-barred PSA claims, Plaintiffs in Harel and the Pomerantz

Actions argue that they could not have adequately alleged Defendants’ scienter prior to

August 3, 2018. (See Opp. Br., pp. 12-13.) This argument is easily dispensed with. As

Plaintiffs themselves admit, the Ontario class plaintiffs were able to plead scienter to the Court’s

satisfaction as of June 22, 2018, the date of their amended and consolidated complaint. (See id.,

13.) Plaintiffs offer no explanation as to why the Clal complaint (the earliest Pomerantz Action)

could not have been filed by August 3, 2018, given that it copies verbatim the scienter

allegations from that Ontario pleading. (Compare 2:19-cv-00530 (E.D.Pa. Feb. 5, 2019), ECF 1

(Clal), ¶¶ 327-71, with 3:17-cv-00558 (D. Conn. June 22, 2018), ECF 226 (Ontario), ¶¶ 240-84.)

Likewise, any claim by the Harel plaintiffs that they could not have adequately alleged scienter

by August 3, 2018 is belied by the fact that the first Phoenix complaint (drafted by the same

counsel and which the Harel complaint copies virtually verbatim) was filed on August 3, 2018,

and supports its PSA claims with scienter allegations substantively identical to those in Ontario.

(See 3:19-cv-00449 (E.D.Pa. Aug. 3, 2018), ECF 1, ¶¶ 641-84.)

                                                 CONCLUSION

         For the reasons set forth above and in Defendants’ moving brief, the State Law Claims

should be dismissed in their entirety, with prejudice.




in a single filing to any “particular transaction that it allegedly made” over a one-year period “in reliance on [that]
document,” 995 F. Supp. 2d 291, (S.D.N.Y. 2014), the Highfields complaint is, if anything, even less particularized,
as it fails to link Highfields’ (supposed) review of any particular statement in many dozens of filings and transcripts
to any particular purchase of Teva securities made over a five-year period.



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Dated:    New York, New York
          September 2, 2021
                                         Respectfully submitted,

                                         DEFENDANTS TEVA PHARMACEUTICAL
                                         INDUSTRIES LTD.; TEVA
                                         PHARMACEUTICALS USA, INC.; EREZ
                                         VIGODMAN; EYAL DESHEH; SIGURDUR
                                         OLAFSSON; DEBORAH GRIFFIN; KÅRE
                                         SCHULTZ; MICHAEL MCCLELLAN;
                                         YITZHAK PETERBURG; YAACOV ALTMAN,
                                         DIPANKAR BHATTACHARJEE; and TEVA
                                         PHARMACEUTICAL FINANCE
                                         NETHERLANDS III B.V.

                                         /s/ Sheron Korpus
                                         Sheron Korpus (admitted pro hac vice)
                                         Cindy Caranella Kelly (admitted pro hac vice)
                                         Sarah G. Leivick (admitted pro hac vice)
                                         Andrew Schwartz (admitted pro hac vice)
                                         KASOWITZ BENSON TORRES LLP
                                         1633 Broadway
                                         New York, New York 10019
                                         Tel.: (212) 506-1969
                                         Fax: (212) 500-3469
                                         skorpus@kasowitz.com
                                         ckelly@kasowitz.com
                                         sleivick@kasowitz.com
                                         aschwartz@kasowitz.com

                                         Counsel for Defendants except with regards to
                                         Case No. 3:20-cv-588

                                         Jordan D. Hershman (admitted pro hac vice)
                                         Jason D. Frank (admitted pro hac vice)
                                         Emily E. Renshaw (admitted pro hac vice)
                                         Andrew M. Buttaro (ct30882)
                                         MORGAN, LEWIS & BOCKIUS LLP
                                         One Federal Street
                                         Boston, MA 02110
                                         Tel: (617) 341-7700
                                         Fax: (617) 341-7701
                                         jordan.hershman@morganlewis.com
                                         jason.frank@morganlewis.com


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                                emily.renshaw@morganlewis.com
                                andrew.buttaro@morganlewis.com

                                Counsel for Defendants
                                – and –
                                Jill M. O’Toole (ct27116)
                                SHIPMAN & GOODWIN LLP
                                One Constitution Plaza
                                Hartford, Connecticut 06103-1919
                                Tel.: (860) 251-5000
                                Fax: (860) 251-5218
                                jotoole@goodwin.com

                                Counsel for Defendants except Kåre Schultz




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